8:05-cr-00083-RFR-MDN             Doc # 47   Filed: 08/25/05    Page 1 of 1 - Page ID # 164




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )        8:05CR83
                     Plaintiff,                 )
                                                )          ORDER
              vs.                               )
                                                )
BONNIE S. TIMLICK,                              )
                                                )
                     Defendant.                 )


       Following the defendant Bonnie S. Timlick’s (Timlick) arraignment on the Superseding
Indictment on August 25, 2005, Timlick made an oral motion to continue trial. For the reasons
stated on the record and with the acknowledgment of Timlick that she concurs in the motion
and understands the additional time will be excluded under the Speedy Trial Act, the motion
is granted.


       IT IS ORDERED that trial of this matter is continued to December 6, 2005 at 9:00
a.m. before Judge Laurie Smith Camp and a jury, Courtroom No. 2, Second Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between August 25, 2005 and December
6, 2005, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason that defendants' counsel require additional time to
adequately prepare the case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 25th day of August 2005.
                                             BY THE COURT:
                                             s/Thomas D. Thalken
                                             United States Magistrate Judge
